                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

JESSE YOAKUM, et al.,                         )
on behalf of themselves and all others        )
similarly situated,                           )
                                              )
                        Plaintiffs,           )
                                              )       Case No. 4:19-cv-00718-BP
        v.                                    )
                                              )
GENUINE PARTS COMPANY, et al.,                )
                                              )
                         Defendants.          )


                PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
               OF PROPOSED AMENDED CLASS ACTION SETTLEMENT

        COME NOW Plaintiffs, with the non-opposition of Defendants Genuine Parts Company

(“GPC”) and Warren Oil Company, LLC, Warren Oil Company, Inc. and Warren Unilube, Inc.

(collectively referred to as “Warren”), and move the Court for an Order preliminarily approving

the Amended Class Settlement Agreement and Release filed herewith. In support of their Motion,

Plaintiffs respectfully state as follows:

        1.      On or about July 19, 2022, the Parties entered into an Amended Class Settlement

Agreement and Release in this matter (the “Class Settlement Agreement”). The Class Settlement

Agreement makes substantial monetary relief available to proposed Settlement Class Members

comprised of persons who have purchased NAPA Quality Tractor Hydraulic & Transmission

Fluid, Warren 303 Tractor Fluid, Carquest 303 Tractor Hydraulic Fluid, Coastal 303 Tractor Fluid,

and/or Lubriguard Tractor Hydraulic and Transmission Oil (collectively referred to as “Warren

THF”) during the Class Period.

        2.      The Settlement Agreement, with the following exhibits thereto, is attached as



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Exhibit 1 to this Motion:

               Exhibit A – Preliminary Approval Order
               Exhibit B – Final Approval Order
               Exhibit C – Long Form Settlement Notice
               Exhibit D – Settlement Summary Class Notice
               Exhibit E – Settlement Mailed Class Notice
               Exhibit F – Claim Form
               Exhibit G – Repairs/Parts/Specific Equipment Damage Claims Review Process
               Exhibit H – Settlement Administration and Notice Plan

       3.      This Settlement provides meaningful relief and benefits to the class members. The

Settlement provides for a Class Settlement Fund of $10,850,000.00, from which shall be paid (a)

all settlement administration and notice costs, (b) claims of Qualified Settlement Class Members,

(c) partial incentive awards to Class Representatives as Ordered by the Court, and (d) attorneys’

fees and expenses of Class Counsel as Ordered by the Court. No amount of the Class Settlement

Fund shall revert to Defendants.

       4.      Pursuant to this Class Settlement Agreement, Plaintiffs now respectfully request

the Court enter an Order, in substantially the form of the proposed Preliminary Approval Order

attached hereto as Exhibit 1-A, in summary, as follows:

                  (i)       Preliminarily approving the terms and conditions set forth in the
                            Settlement Agreement, including all exhibits thereto, as fair, reasonable, and
                            adequate.

                  (ii)      Conditionally certifying, for settlement purposes only, the following
                            settlement class:

                                All persons and other entities who purchased NAPA
                                Quality Tractor Hydraulic & Transmission Fluid,
                                Warren 303 Tractor Fluid, Carquest 303 Tractor
                                Hydraulic Fluid, Coastal 303 Tractor Fluid, and/or
                                Lubriguard Tractor Hydraulic and Transmission Oil
                                in the United States, its territories, and/or the District
                                of Columbia, at any point in time from July 26, 2014
                                to present, excluding any persons and/or entities who
                                purchased for resale.




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                   The Settlement Class also excludes Defendants,
                   including any parent, subsidiary, affiliate or
                   controlled person of Defendants; Defendants’
                   officers, directors, agents, employees and their
                   immediate family members, as well as the judicial
                   officers assigned to this litigation and members of
                   their staffs and immediate families.

        (iii)   Conditionally finding, for settlement purposes only and conditioned
                upon entry of the Final Approval Order, and the occurrence of the
                Effective Date (as defined in the attached Class Settlement Agreement),
                that the prerequisites for a class action under Rules 23(a) and (b)(3) of
                the Federal Rules of Civil Procedure have been satisfied in that: (a) the
                number of members of the Settlement Class is so numerous that joinder
                of all members thereof is impracticable; (b) there are questions of law
                and fact common to theSettlement Class; (c) the claims of the Plaintiffs
                are typical of the claims of the Settlement Class for purposes of
                settlement; (d) Plaintiffs have fairly and adequately represented the
                interests of the Settlement Class and will continue to do so, and
                Plaintiffs have retained experienced counsel to represent them; (e) the
                questions of law and fact common to the members of the Settlement
                Class predominate over any questions affecting anyindividual members
                of the Settlement Class; and (f) a class action is superior to the other
                available methods for the fair and efficient adjudication of the
                controversy.

        (iv)    Appointing Bryan White, Gene Graham, and Bill Carr from the law firm
                White, Graham, Buckley & Carr, L.L.C. in Independence, Missouri;
                Tom Bender and Dirk Hubbard from the law firm Horn Aylward &
                Bandy, LLC in Kansas City, Missouri; and, Clayton Jones of the
                Clayton Jones Law Firm in Raymore, Missouri, as counsel for the
                Settlement Class (“Class Counsel”).

        (v)     Designating named Plaintiffs in Appendix A to the Class Settlement
                Agreement as Representatives of the Settlement Class.

        (vi)    Appointing RG/2 Claims Administration LLC to serve as the Settlement
                Administrator.

        (vii)   Setting a Final Fairness Hearing (as defined in the attached Class
                Settlement Agreement) to be held before this Court to determine whether
                the terms and conditions forth in the Class Settlement Agreement are
                fair, reasonable, and adequate and should receive final approval.

        (viii) Staying, pending the Final Fairness Hearing, the proceedings in this
               action as to the Defendants,other than proceedings necessary to carry



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                          out or enforce the terms and conditions of the Class Settlement
                          Agreement.

                  (ix)    Approving the Settlement Mailed Class Notice (attached hereto as
                          Exhibit 1-E), Long Form Class Notice (attached as Exhibit 1-C),
                          Summary Class Notice (attached hereto as Exhibit 1-D), Claim Form
                          (attached hereto as Exhibit 1-F), the Repairs/Parts/Specific Equipment
                          Damage Claim Review Process (attached hereto as Exhibit 1-G), and
                          the Settlement Administration and Notice Plan (attached hereto as
                          Exhibit 1-H), and the notice and settlement administration process set
                          forth in Class Settlement Agreement and exhibits thereto attached to
                          this Motion, finding that it is the best practicable notice under the
                          circumstances, it provides individual notice to all Settlement Class
                          Members who can be identified through a reasonable effort, and it is
                          reasonably calculated, under all the circumstances, to apprise the
                          members of the Settlement Class of the pendency of this action, the terms
                          of the settlement, and their right to objectto the settlement or exclude
                          themselves from the Settlement Class.

                  (x)     Approving the timetable and process for exclusion from the Settlement
                          Class or objection to the Class Settlement by any Settlement Class
                          Member.

                  (xi)    Approving the timetable and process for Class Counsel to file
                          their Application for incentive awards for the Settlement Class
                          Representatives and for reasonable attorneys’ fees and expenses.

       5.     In further support of the adequacy and appropriateness of the Notice Plan, the

Declaration of a representative of proposed Settlement Administrator RG/2 Claims Administration

LLC is attached hereto as Exhibit 2.

       6.     In further support of this Motion, Plaintiffs file concurrently herewith their

Suggestions in Support of Unopposed Motion for Preliminary Approval of Class Action

Settlement.

       7.     Defendants’ counsel has indicated that Defendants do not oppose Plaintiffs’ Motion

for Preliminary Approval and that such Motion is in accord with the terms of the Amended Class

Settlement Agreement.




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          WHEREFORE, Plaintiffs respectfully request the Court enter the proposed Preliminary

Approval Order attached hereto as Exhibit 1-A and for such other and further relief as is just and

proper.



Date: July 20, 2022                          Respectfully submitted,

                                             WHITE, GRAHAM, BUCKLEY,
                                             & CARR, L.L.C

                                             BY:____/s/ Bryan T. White_________
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                                                    ATTORNEYS FOR PLAINTIFFS
                                                    AND CLASS MEMBERS




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that this document was filed electronically with the
United States District Court for the Western District of Missouri, with notice of case activity to be
generated and sent electronically by the Clerk of the Court to all designated persons this 20th day
of July, 2022.


                                                      /s/ Bryan T. White




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